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Dear Judge,

My name is Evgeniy Buyanov. I would love to tell you about friend of mine
Vladislav Kliushin.
We are friends with Vladislav almost for all our lives, since our fri endship
began in kindergarten, when we were 3 years old a nd since then we have
practically not parted. We lived nearby, we went to the one kindergarten, then
all years in the school we sat at the same desk, so I can responsibly declare
that like no other know what a wonderful person he is.
After school, we entered different universities, but even then we continued to
communicate closely and did not interrupt our friendship.
After all years we spent together he became my brother.
Vladislav grew up without father, and my family, my parents always treated
him as a son, that is why now I and my whole family are so hard worried
about his fate.
When Vladislav's eldest son was born, he invited me to become his godfather.
I took this offer with great pride, swearing an oath to God that whatever
happens we will always be together, we will never abandon each other and
support our families and our children.
Since then, Vladislav had four more children, and despite the fact that there
were five of them, he always found time for each of them, paying attention to
everyone and each individually. Despite the great personal professional
workload, he knew what his children live is, what they are fond of, what
victories and defeats they have, what joys and experiences. He always
remained a sensitive, loving, kind husband, father, friend, and man.
That is why it is now so difficult for all of us to live these endless days when he
is not with us.
The children cannot hug their father, the wife cannot get the support of the
husband, friends can not help with anything and from this go crazy.


Kind regards
